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                                                                          Page 1


                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK


                          CASE NO. 15-CV-07433-RWS


        ------------------------------------------x
        VIRGINIA L. GIUFFRE,


                                       Plaintiff,
        v.
        GHISLAINE MAXWELL,
                                       Defendant.


        -------------------------------------------x


                                       June 20, 2016
                                       9:12 a.m.


                          C O N F I D E N T I A L
              Deposition of                          pursuant
              to notice, taken by Plaintiff, at the
              offices of Podhurst Orseck, 25 West
              Flagler Street, Suite 800, Miami, Florida,
              before Kelli Ann Willis, a Registered
              Professional Reporter, Certified Realtime
              Reporter and Notary Public within and
              for the State of Florida.
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                                                                      Page 54
  1                                         - CONFIDENTIAL
  2     BY MR. EDWARDS:
  3           Q.     When you got to his house, you were
  4     requested to give a massage?
  5                  MR. PAGLIUCA:      Object to foundation and
  6           form.
  7                  THE WITNESS:      I don't exactly remember.          I
  8           don't remember if I was asked in the kitchen.
  9           I don't remember if -- I don't remember.
 10     BY MR. EDWARDS:
 11           Q.     Massage was part of the game, though?
 12                  MR. PAGLIUCA:      Object to form and
 13           foundation.
 14                  THE WITNESS:      I don't remember.       I'm
 15           sorry.
 16     BY MR. EDWARDS:
 17           Q.     But even during this deposition today, we
 18     have described at times you giving him a massage?
 19           A.     Yes.    You're asking about my first
 20     encounter, though.
 21           Q.     Sorry, I'm just trying to sum up the whole
 22     thing.
 23           A.     Okay.
 24           Q.     Was massage part of the lure to get you
 25     specifically to his house?
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                                                                      Page 55
  1                                         - CONFIDENTIAL
  2           A.     Yes.
  3                  MR. PAGLIUCA:      Object to form and
  4           foundation.
  5     BY MR. EDWARDS:
  6           Q.     And at the time, you are 15, 16 or 17
  7     years old?
  8                  MR. PAGLIUCA:      Object to form and
  9           foundation.
 10                  THE WITNESS:      Yes.
 11     BY MR. EDWARDS:
 12           Q.     No massage experience?
 13           A.     No.
 14           Q.     You were told to bring other girls to his
 15     house?
 16                  MR. PAGLIUCA:      Object to form and
 17           foundation.
 18                  THE WITNESS:      After a while, yes.
 19     BY MR. EDWARDS:
 20           Q.     These massages were turned sexual by
 21     Jeffrey, as opposed to by anyone else?
 22           A.     Jeffrey took my clothes off without my
 23     consent the first time I met him.
 24           Q.     The massages were scheduled by people
 25     working for Jeffrey?
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                                                                      Page 56
  1                                         - CONFIDENTIAL
  2            A.    I don't recall.
  3                  MR. PAGLIUCA:      Object to form and
  4            foundation.
  5     BY MR. EDWARDS:
  6            Q.    Jeffrey Epstein, during these massages,
  7     would use sex toys or have sex toys used?
  8                  MR. PAGLIUCA:      Object to form and
  9            foundation.
 10                  THE WITNESS:      Well, at that point, it's no
 11            longer a massage.       Something else is going on.
 12            But, yes, he would take out adult toys and
 13            different things.
 14     BY MR. EDWARDS:
 15            Q.    While you were a teenager, Jeffrey Epstein
 16     asked you to live with him?
 17            A.    Yes.   He wanted me to be emancipated.
 18            Q.    Jeffrey Epstein encouraged girl-on-girl
 19     sex?
 20                  MR. PAGLIUCA:      Object to form and
 21            foundation.
 22                  THE WITNESS:      Yes.
 23     BY MR. EDWARDS:
 24            Q.    And after you cooperated with the police,
 25     you were intimidated by people working for Jeffrey
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                                                                      Page 57
  1                                           - CONFIDENTIAL
  2     Epstein?
  3                  MR. PAGLIUCA:      Object to form and
  4           foundation.
  5                  THE WITNESS:      Yes.
  6                  MR. EDWARDS:      All right.     I don't have
  7           anything further for you.           I apologize that we
  8           even had to go through this, all right?
  9                  THE WITNESS:      Okay.
 10                         E X A M I N A T I O N
 11     BY MR. PAGLIUCA:
 12           Q.     Ms.       , by name is Jeff Pagluica.           I
 13     live in Denver, Colorado.          And, like you, I don't
 14     want to be here today either, okay?             I would rather
 15     be in Denver.
 16                  I just want to -- as I understand it, and
 17     I'm not trying to get into any of your treatment
 18     over the last, let's say, 10 years, because I don't
 19     know how long it's been, but as I understand what
 20     you and your lawyer have said here today, you have
 21     been involved in some number of years of therapy, in
 22     which the purpose -- part of the purpose of the
 23     therapy has been to forget all of these events that
 24     Mr. Edwards was asking you questions about; is that
 25     correct?
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  1                                 - CONFIDENTIAL
  2                      CERTIFICATE OF OATH
  3     STATE OF FLORIDA       )
  4     COUNTY OF MIAMI-DADE   )
  5
                     I, the undersigned authority, certify that
  6                        personally appeared before    me and
            was duly sworn.
  7                  WITNESS my hand and official seal     this
            23rd day of June, 2016.
  8
  9
                        Kelli Ann Willis, RPR, CRR
 10                     Notary Public, State of Florida
                        Commission FF928291, Expires 2-16-20
 11              + + + + + + + + + + + + + + + + + +
 12                          CERTIFICATE
 13     STATE OF    FLORIDA )
 14     COUNTY OF MIAMI-DADE )
 15                 I, Kelli Ann Willis, Registered
           Professional Reporter and Certified Realtime
 16        Reporter do hereby certify that     I was
           authorized to and did stenographically report the
 17        foregoing deposition of                 that a
           review of the transcript was not requested; and
 18        that the transcript is      a true record of my
           stenographic notes.
 19                 I FURTHER CERTIFY that I am not a
           relative, employee, attorney, or counsel of    any
 20        of the parties, nor am I a relative or employee of
           any of the parties' attorney or counsel connected
 21        with the action, nor am I financially interested
           in the action.
 22                 Dated this 23rd day of June, 2016.
 23
 24                               KELLI ANN WILLIS, RPR, CRR
 25
